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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

x
SHAYLA SAPP,
COMPLAINT
Plaintiff,

Against , CNIL ACTION NUMBER
CITY OF GENEVA, NEW YORK;
and BRIAN KELLY, Building Inspector for the City of
Geneva, in his official capacity and his personal capacity.

Defendants. JURY TRIAL DEMANDED

 

I. PRELIMINARY STATEMENT

1. Plaintiff SHAYLA SAPP (“Ms. Sapp”) brings this action against THE CITY OF
GENEVA, NEW YORK, and BRIAN KELLY (“Defendants”) to Vindicate the Violation of her
state and`constitutional rights to due process, protection from unlawful seizures, the Violation of
legally established procedures regarding code enforcement, and freedom from illegal ejectment
from her horne.

2. Ms. Sapp was the lawful resident of an apartment located at llO-llZ Andes
Avenue, Apartrnent #l in Geneva, Ontario County, New York, 14456, after having entered into a
year-long lease with the property owner, A6 Properties, LLC. In the middle of winter on the
afternoon of January 30, 2018, another tenant of the apartment building knocked on her door to
inform her that the entire five-unit dwelling was being immediately condemned Ms. Sapp found
an Order to Vacate notice tucked above her mailbox and a placard posted on the entrance to the

property. The Order to Vacate notice stated that the City of Geneva and Brian Kelly, Geneva

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Building Inspector, were ordering the building to be immediately vacated because the landlord
had failed to have it inspected and it lacked an operating perrnit.

3. Ms. Sapp was not given prior notice of the Defendants’ intention to vacate the
building, and Ms. Sapp was not given an opportunity to challenge the determination before or
after she was ordered to leave her residence by Defendant Brian Kelly. As a result of Defendants’
actions and inactions, Ms. Sapp and her five-year old daughter were made homeless and Suffered
other injury and loss. 1

4. Ms. Sapp asserts that Defendants, in violation of the Due Process Clause of the
Fourteenth Amendment to the Constitution of the United States, the Fourth-Amendment to the
Constitution of the United States, and State and Local statutes, codes, and regulations,
unlawfully and Without due process of law, caused her to be removed from her apartment and
deprived her of her property rights thereto. Defendants’ actions and inactions directly resulted in
the loss of Ms. Sapp’s apartment, homelessness, monetary losses, as well as emotional distress
and embarrassment

5. ln bringing this action, Ms. Sapp seeks an order from this Court granting

compensatory and punitive damages, declaratory relief, injunctive relief, costs and fees.

II. JURISDICTION AND VENUE

6. This Court has jurisdiction pursuant to 28 U.S.C. § 1331, in conjunction with 42
U.S.C. § 1983 (The Civil Rights Act of 1871) because Plaintiff’s claims constitute Violations of

the Constitution of the United States.

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‘ 7. This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 to reach
Plaintiff’s pendent state law claims as these claims arise out of a common nucleus of operative
facts.

8. Venue is proper in the Western District of New York pursuant to 28 U.S.C. §
1391(b) and (c) because all the events or omissions giving rise to the Plaintiff’s claims occurred
in this judicial district

9. The Court has the authority to grant monetary and injunctive relief pursuant to 42
U.S.C. § 1983 and RPAPL § 853; fees and costs pursuant to 42 U.S.C. §1988, and declaratory
reliefpursuant to 28 U.S.C. § 2201. _ v

III. PARTIES

10. Plaintiff Shayla Sapp is a 25 year-old single mother and currently rents an
apartment at 32 Pulteney Street, Apartment #1, Geneva, Ontario County, New York.

11. `Defendant City of Geneva is a duly formed municipality located in New York and
organized under the laws of New York.

12. Defendant Brian Kelly is an employee of the City of Geneva, and upon
information and belief was working as a Building Inspector at the time of the incidents
complained of. He is sued in both his official and personal capacities

IV. LEGAL FRAMEWORK
Due Process of LaW

13. Under the Fourteenth Amendrnent to the United States Constitution, a state may

not “deprive any person of life, liberty or property without due process of law.”

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14. Before a party suffers a deprivation by a state actor, procedural due process
requires notice and an opportunity to be heard. Fuentes v. Shevz`n, Parham and Cortese, 407
U.S. 67, 80 (1972).

15. When tenants are directed to vacate their properties by government officials,
notice and opportunity for a hearing must be afforded prior to the deprivation of housing, unless
there is an emergency which creates an imminent threat to the safety of the tenants. Flatford v.
City of Monroe, 794 F.Supp 227, 233 (E.D. Michigan 1992), reversed in part and affirmed in part
by Flatford v. City of Monroe, 17 F.3d 162 (6th Cir._ 1994)(f1nding that tenants who are directed
to vacate housing by code enforcement officials have a clearly established right to a pre-eviction

hearing in the absence of exigent circumstances).

16. Notice and hearing may only be postponed until after a deprivation in very
limited circumstances where there is, among other things, a "special need for very prompt

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action under the standards-of a narrowly drawn statute." Fuentes, 407 U.S. at 91 .'
Unlawful Seizure

17. Under the Fourth Alnendment to the United States Constitution, a person has the
“right to be secure in their persons, houses, papers, and effects, against unreasonable Searches
and seizures.”

18. A “seizure” of property within the meaning of the Fourth Amendment occurs
when “there is some meaningful interference with an individual's possessory interests in that
property.” Soldal v. Cook Counly, 506 U.S. 56, 61 (1992).

19. Fourth Amendment protection from unlawful seizure applies within the civil

context Soldal, 506 U.S. at 66-69 (collecting cases and, in dicta, describing hypothetical seizure

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of a house in order to verify compliance with a housing regulation as a “transgression” falling
within the parameters of the Fourth Amendment).

_ ' New York State Law and Regulations on Enforcement of Building Codes

20. The text of the New York State Uniform Fire Prevention and Building Code is
found in Title 19 of the New York Codes, Rules and Regulations (“19 NYCRR”), Parts 1219
through 1229, and in publications incorporated by reference in 19 NYCRR Parts 1219 through
1229, including periodic supplements

21 . Pursuant to New York Executive Law § 381 (2), local governments are required to
enforce the New York Uniform Fire Prevention and Building Code, unless exempted by
regulation of the Secretary of State.

22. Pursuant to New York Executive l;aw § 378, New York's Uniform 'Fire
Prevention and Building Code addresses a range of housing requirements, including occupancy,
safety and sanitary conditions

23. Under New York Department of State regulation 19 NYCRR §_ 1219.1, the New '

-Yorl< State Uniform Fire Prevention and Building Code includes the New York State Property
Maintenance Code. l

24. y The Property Maintenance Code is to be administered and enforced in accordance l
with local law. Property Maintenance Code of New York State §109. 1.

25. Under New York Departinent of State regulation 19 NYCRR § 1226.1, all
existing residential and n_onresidential structures must comply with the Property Maintenance

Code of New York State.

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26. Property Maintenance Code of New York State § 107.1 authorizes a structure to
be condemned pursuant to the provisions of the code “[w]hen a structure is found to be
unsafe, or when a structure is found unfit for human occupancy, or is found unlawful”

27. When a property is condemned pursuant to Property l\/Iaintenance Code of New
York State § 107.1, “a notice shall be posted in a conspicuous place in or about the structure
affected by such notice.” Property Maintenance Code of New York State § 107.3.

28. Under Property Maintenance Code of New York State § 107.4, “no person shall
occupy a placarded premises.”

29. When a property is condemned pursuant to Property l\/laintenance Code of New
_ York State § 107.1, “[t]he placard shall be removed whenever the defect or defects upon which
the condemnation and placarding action were based have been eliminated.” Property
Maintenance Code of New York State § 107.3.

30. Condemnations pursuant to Property Maintenance Code of New York State §
107.1 are bound by the statutory requirements articulated in the 2016 Uniform Code Supplement.
New York Department of State regulation 19 NYCRR § 1226.1_.

31. 2016 Uniform Code Supplement § 107.1 states:

Nothin.g in this Chapter l, or elsewhere in the Uniform Code, or in any regulation

promulgated pursuant to Executive Law § 381(1), shall be construed as

authorizing any governmental unit or agency responsible for administration and

enforcement of the Uniform Code to do so in a manner that deprives any person

or entity of due process of law. In particular, but not by way of limitation, nothing

in this Chapter 1 relating to posting, placarding and/or condemnation of buildings

or structures that are unsafe, unfit for human occupancy or unlawful shall be

construed as authorizing any governmental unit or agency responsible for

administration and enforcement of the Uniform Code to post, placard or condemn

any such building or structure and/or to remove any owner or occupant or cause

any owner or occupant to be removed from any such building or structure without
providing such notice and opportunity to be heard (and, if applicable, right of

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appeal) as may be required under the applicable circumstances by applicable
_Constitutional provisions

32. The 2017 Uniform Code Supplement contains an identical provision regarding
due process 2017 Uniform Code Suppl_ement § 107.3.

33. Pursuant to New York Executive Law 376-a, the New York Secretary of State is
responsible for establishing a program of training code enforceinents officers and issuing

certificates to adequately trained code officers, and revoking such certificates

Geneva City Code Chapter 230

34. Defendant City of Geneva is subject to the New York Uniform Fire Prevention
and Building Code, with some amendments as adopted in Chapter 230 of the Geneva City Code.
Among other provisions, the New York Uniform Fire Prevention and Building Code replaced
Geneva City Code Chapter 170 (OperatingiPermits), Chapter 171 (Fire Safety), and Chapter 264
(Property l\/laintenance Code).

35. Geneva City Code § 230-12 specifies the role of a designated Code Enforcement
Office.r in enforcing the New York Uniform Fire Prevention and Buildin g Code and local code
provisions, and enumerates specific powers and duties of the Code Enforcement Officer. lt also
provides for the appointment of inspectors to assist in this role.

36. Under Geneva City Code § 230-12, Code Enforcement Officer and inspectors
may approve or deny applications for operating permits and certificates of occupancy, conduct
inspections, and issue compliance orders specifying any violations of the New York Uniform
Fire Prevention and Building Code or local codes and requiring remedial actions by the

responsible party.

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37. Geneva City Code Chapter 230 does not include any authorization for such officer
or an appointed inspector to issue an order vacating a structure for failure to obtain an operating
permit without prior notice or opportunity for a hearing.

38. Under Geneva City Code § 23 0-13, code enforcement personnel are subject to

constitutional restrictions on unreasonable searches and seizures

New York Real Property Actions and Proceedings Law § 853

39. New York Real Property Actions and Proceedings Law (RPAPL) § 853 provides a
cause of action and treble damages against a party who unlawfully ejects a person from real
property. j

V. STATEMENT OF FACTS
Plaintiff’s Interest in the Property
40. ln September 2017, l\/ls. Sapp signed'a year-long lease with the owner of the

property located at 110-112 Andes Avenue,' Geneva, Ontario County, New York (the premises).

The lease began on or about September 11, 2017 and was for Apartment #l in the building

41. Ms. Sapp’s apartment was located on the first floor of the two-story building

located at 110-112 Andes Avenue, which contained 5 units in total.

42. \On or about September 15, 2017, Ms. Sapp, along with her 5-year-old daughter,
moved into the apartment at 110 Andes Avenue.

43. Upon information and belief, the Ontario County Department of Social Services
paid $515 and Catholic Charities $200 to A6 Properties LLC on behalf of Ms. Sapp as a security
deposit for the premises l

44. Upon information and belief, the Ontario County Department of Social Services

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also paid a prorated amount of the first month’s rent for the premises for a total of $476.60 to A6
Properties, LLC for the time period f`rorn September 11, 2017 to September 30, 2017.

45 . Ms. Sapp then became responsible for paying rent to the property owner in the
amount of $715 per month beginning in October 2017.

46. Ms. Sapp supports herself by working two jobs

47. y The premises located at 110 Andes Avenue, Apartment #1, Geneva, Ontan`o
County, New York 14456 were Ms. Sapp and her daughter’s residence beginning approximately
September 15, 2017 and continuing until the events complained of.

Ms. Sapp’s Removal from Premises

48. Oii January 30, 2018, inthe middle of an upstateiNew York winter, Defendants
gave l\/ls. Sapp and her five year-old daughter an Order to Vacate their home immediately due to
lack of an operating permit for the premises with no prior notice and no opportunity to challenge
the decision

49. Upon information and belief, no agent or employee of the City of Geneva l
conducted an inspection of the premises before making a determination to placard the premises
and issuing the Order to Vacate notice on Januaiy 30, 2018.

50. l The Januaiy 30, 2018 Order to Vacate notice stated that an inspection of the
premises had not been done.

51. Upon information and belief, neither the City of Geneva nor Defendant Brian
Kelly believed there was an actual or potential imminent risk to Ms. Sapp’s health or safety or

that of others pursuant to Geneva City Code when making the determination to placard the

premises or issue the Order to Vacate notice.

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52. ; Upon information and belief, no condition in Ms`. Sapp's'apartment created an
actual or potential imminent risk to her health or safety or that of others

53. Ms Sapp did not make any complaints to code enforcement regarding the
premises during the time She occupied them.

54. Ms. Sapp had not had any contact with code enforcement or any other agentor
employee of the City of Geneva regarding the premises from the time she moved in until January
30, 2018. v

55. On the afternoon of January 30, 2018, another tenant in the building came to l\/ls.
Sapp’s door and asked l\/ls. Sapp if she had received a letter informing her that the building was
being shut down.

56. Ms. Sapp left her apartment and found a notice dated January 30, 2018, addressed
to A6 Properties, LLC, entitled “ORDER TO VACATE” above her mailbox.

57. The January 30, 2018 Order to Vacate notice stated that the property was being
vacated “immediately for failure to obtain the required Operating Permit per NYS Uniform
Codes.” A copy of the notice provided to Ms. Sapp is attached hereto as ExhibitA.

5 8. Prior to receipt of the January 30, 2018 Order to Vacate notice, l\/ls Sapp was not
aware that there was not a valid operating permit for the premises

59. The Order to Vacate notice did not identify a particular condition justifying the
vacate order. It made only a broad reference to the Property Maintenance Code of New York
State which stated that fire safety and property maintenance inspections must be done “at
intervals not to exceed one year” for buildings'which contain an area of public assembly and “at
intervals consistent with local conditions, but in no event shall such intervals exceed three

years” for all other buildings

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60. Upon information and belief, the most recent inspection of the premises by an
agent or employee of the City of Geneva before the January 30, 2018 Order to Vacate Notice was
issued was August ll, 2017.

61. The Order to Vacate notice also did not provide information on any opportunity to
challenge the determination

62. The January 30, 2018 Order to Vacate notice further stated that failure to vacate
the premises would “give our office no choice than to seek City Court for their assistance in this
matter.”

63. The January 30, 2018 Order to Vacatenotice was signed by Defendant Brian
Kelly.

_ 64. l\/[s. Sapp also found ap yellow placard on the front door to the building The
placard listed the Geneva Fire l\/larshal’s Office and had the signature of an lnspector.

65. The placard stated that the building was “NOT TO BE OCCUPIED UNTIL AN
OPERATWG PERMIT_ HAS BEEN ISSUED.” A photo of the posting is attached hereto as
Exhibit B.

66. Upon information and belief, on or about January 30, 2018,` an agent or employee
of the City of`Geneva issued a placard, posted the placard on the premises, issued an Order to
Vacate notice, and delivered the Order to Vacate notice to Ms. Sapp’s mailbox.

67. Upon information and belief, that agent or employee was Defendant Brian Kelly.

Fallout from Removal

68. Following the posting of the subject premises on January 30, 2018 for failure to

obtain an operating permit, residents of the premises including Ms. Sapp went to the Ontario

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County Department of Social Services (“DSS”) that afternoon

69. On January 30, 2018, Ms. Sapp met with her DSS caseworker, Julia Hernandez,

regarding the Order to Vacate notice.

70. Upon information and belief, while Ms. Sapp Was at DSS, Ms. Hernandez made a

phone call on l\/[s. Sapp’s behalf to the City of Geneva regarding the Grder to Vacate notice.

71. Ms. Hernandez advised Ms. Sapp that she spoke with an agent of the City of

Geneva regarding the Order to Vacate notice.

72. Upon information and belief, the agent that l\/ls. Hernandez spoke with on January

30, 2018 was Defendant Brian Kelly.

73.` Ms. Hernandez advised Ms. Sapp that the City agent she spoke with on January

30, 2018 had told her that the residents were not allowed to stay at the premises

74. l\/[s Hernandez advised Ms. Sapp that the City agent she spoke with on January
30, 2018 had told her that he would not be taking down the placard until the apartment had been
properly inspected l
75. On or about February 5, 2018, an inspection of the premises occurred by

Defendant Brian Kelly. 'l`he premises did not pass inspection on February 5 , 2018.

76. Upon information and belief, a Property lnspection Report was issued by Brian
Kelly shortly thereafterl The Property Inspection Report noted that “this property has been
Vacated on January 30, 2018 and it shall remain vacated until such a time that all of the below

listed code violations can be corrected and re-inspected to assure compliance.”

77. For approximately one to two weeks following the placarding of the premises,

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Ms Sapp reluctantly separated from her daughter in order to make sure that she would have a

safe place to stay, leaving her to the care of family and friends

78. For approximately one to two Weeks following the placarding of the preniises,
l\/Is. Sapp slept wherever she could. Ms. Sapp stayed with family when she could, giving them
cash to compensate them, and spent several nights in her car in freezing temperatures when she

could not

79. Ms. Sapp was fearful that continuing to use the premises could result in her arrest,

Child Protective Services issues, or other legal consequences

80. lt was Ms. Sapp’s belief that occupancy of the apartment during this period was
prohibited due to the Order to Vacate notice she received, the placard that remained on the door

to the premises and the conversation she had had with Julia Hernandez, her DSS caseworker.

81. However, Ms. Sapp had no safe and sustainable location to keep her daughter

long-tenn due tolack of space for her and her daughter at her mother’s place. y

82. j Moreover, l\/Is. Sapp’s daughter was experiencing extreme stress due to their
separation l\/ls. Sapp is a single mother to her then-five year-old daughter, who was very anxious
whenever l.\/Is. Sapp was not around. Ms. Sapp’s daughter was particularly upset whenever they
had to sleep in separate places The situation was made all the more difficult by the fact that Ms.

Sapp could not tell her the truth about where l\/ls. Sapp was sleeping

83. Accordingly, Ms. Sapp and her daughter returned to sleeping at the premises
When Ms. Sapp first returned to the apartment, her use and possession was substantially

impaired due to her fear of legal consequences as the property remained placarded.

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84. Ms. Sapp would wake up and leave the premises early in the niorning, go to Work,
pick her daughter up from school, then going to her mother’s house to wait until it was late in the

evening She would then returning to the premises late in the evening in the dark.

85. On or about February 23, 2018, Ms. Sapp’s counsel sent a letter to counsel for the

Defendant City of Geneva, objecting to Ms. Sapp’s dispossession from the premises

86. The Febiuary 23, 2018 letter from Plaintiff’s counsel included citations to case
law and New York State regulations regarding provision of due process in code enforcement
activities

87. The February 23, 2018 letter from Plaintiff’s counsel asserted Ms Sapp’s rights to

re-assert tenancy and possession of the property, and requested that no adverse actions be taken

by Defendant for any decision by Ms. Sapp to reassert possession

88. Around this tinie, l\/[s.l Sapp b`ecame more comfortable using the premises

normally, which she did for several days

89. Ms. Sapp never received any direct communication from Brian Kelly, or any other
agent or employee of the City of Geneva, regarding her ability to return to the premises, other
than the January 30, 2018 order to vacate notice and the placard placed on the door to the

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90. As the situation dragged on, Ms. Sapp began to look for more permanent alternate
housing Near the end of February, Ms. Sapp paid for three nights at the hotel where she was

employed.

91. Ms. Sapp also began to look for more permanent housing after receiving threats

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from the owner of the premises that he intended to illegally dispose of her personal property. She
applied for assistance to move into a new apartment at the Department of Social Services, but

was denied assistance needed to relocate.

92. At the end `of February,_ Ms. Sapp entered into a lease agreement for alternative

housing and thereafter moved out of the premises

93. Upon information and belief, on or about March 6, 2018, a re-inspection of the

premises occurred by Defendant Brian Kelly.

94. The premises passed inspection on Marcli 6, 2018, and a Conditional Opei'ating

Permit was granted by Fire Chief/.Fire Marshal Michael A. Combs, expiring on July 23, 2018.

'95. Ms._ Sapp was not directly notified by the City of Geneva of the City’s intention to
re-inspect on l\/larch 6, 2018, or of the results of the l\/larcli 6, 2018 re-inspection.

96. ln issuing the January 30, 2018 Order to Vacate notice and placarding the
premises Defendant Brian Kelly acted with reckless indifference to Ms. Sapp’s rights

97. In 2016, the Uniform Codewas updated with the 2016-Uniform Code
Supplenient, which included provisions regarding provision of due process in conducting code
l enforcement activities

98. On September 28, 2016, the New York Department of _State Division of Building
`Standards and Codes issued technical guidance to local code enforcement officials regarding
Constitutional due process requirements when placarding an unsafe structure with a “do not
occupy” notice. l

99. In 2017, the Uniform Code was updated with the 2017 Unifomi Code

Supplement, which included provisions regarding provision of due process in conducting code

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enforcement activities

100. Upon information and belief, New York state law and regulations require periodic
training by all government employees acting as code enforcement officers in the completion of
their duties Completion of this training is required before code enforcement officers can
continue working in an enforcement capacity.

101. Upon information and belief, officers performing code enforcement duties in New
York State are supposed to receive training on Constitutional due process requirements as part of
their periodic Code Enforcement Basic Training.

102. Upon information and belief, Defendant Brian Kelly routinely issues notices
immediately vacating properties that lack the requisite specificity under local law and the
Constitution. /

103. 'Upon information and belief, Defendant Brian Kelly routinely issues notices
immediately vacating properties without prior notice or opportunity for a hearing when there is
no imminent risk of harm.

104. Upon information and belief, Defeiidants City of Geneva is aware that Defendant
Brian Kelly routinely issues notices immediately vacating properties without prior adequate
notice or opportunity for a hearing when there is no imminent risk of harm.

105. Upon information and belief, Defendant City of Geneva has not taken actions to
ensure that tenants or occupants are provided with prior adequate notice and an opportunity to

challenge a determination that a structure must be vacated

106. As a result of the actions and omissions of the Defeiidants, l\/ls. Sapp was forced

to scrarnble to find and pay for alternate housing When she couldn’t find alternative housing,

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Ms. Sapp suffered unnecessary stress and embarrassment of temporary homelessiiess She also
suffered unnecessary stress and embarrassment seeking the assistance of family members and
friends who would provide shelter for her five-year old daughter, and asking for assistance from
her employer to allow her to stay at the hotel where she worked She experienced stress and
anxiety attempting to protect her young daughter from unfolding events, and distress related to
separation from her daughter.

107. l As a result of the acts and omissions of Defendants, Ms. Sapp has suffered injury
and loss, including but not limited to,` monetary losses, loss of housing and a period of
homelessness, emotional distress due to separation from her child, embarrassment a deprivation
of her rights to due process, and a deprivation of her rights to be free from unlawful seizures

V. PROCEDURAL HISTORY

108. On April 25, 2018, l\/ls. Sapp caused a notice of claim to be served on Defendant
City of Geneva pursuant to New York General l\/lunicipal Law §§ 50-e and 50-i .

109. On June 25, 2018, Ms Sapp gave testimony at a hearing pursuant to New York
General Municipal Law § 50-h.

vi. CLAIMS FoR RELIEF
t FiRsr CLAIM FoR RELIEF;
vioLATroN oF THE DUE PRoCESs CLAUSE oF THE FoURTEENTH AMENDMENT To
` THE U.s CoNsTrrUTroN

110. Ms. Sapp re-alleges and incorporates by reference Paragraphs 1 through 109 as if

fully set forth herein

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111. Defendants, acting in concert and under color of law, violated Ms. Sapp’s right to
due process of law under the Fourteenth Ainendment to the United States Constitution as made
actionable by~the Civil Rights Act of 1871, 42 U.S.C. §1983, by their actions and inactions

112. Defendants The City of Geneva and Brian Kelly placarded and allowed to be
placarded the premises and issued and allowed to be issued an Order to Vacate notice, without
providing a notice which described or cited exigent circumstances or a special government need
which justified deprivation of Ms Sapp’s property rights without a pre-deprivation hearing

113. Defendants The City of Geneva and Brian Kelly placarded and allowed to be
placarded the premises and issued and allowed to be issued an Order to Vacate notice, without
providing notice of available administrative proceedings to challenge the vacate order.

114. Defendants The City of Geneva and Brian Kelly placarded and allowed to be
placarded the premises and issued and allowed to be issued an Order to Vacate notice, without
providing an opportunity for a pre- or post-deprivation hearing

115. Defendants Brian Kelly placarded the premises and issued and allowed to be
issued an Order to Vacate notice without having the legal authority to do so.

116. Upon information and belief, l)efendant City of Geneva knowingly'and
deliberately maintains an official pattern, practice or custom under which agents or employees of
the City placard property Without adequate notice and without provision of appropriate pre- or

post-deprivation relief in conformity with due process requirements

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117. Defendants’ Grder to Vacate the premises issued to Ms. Sapp and her young
daughter constitutes an unlawful deprivation of Ms. Sapp’s due process rights in violation of the
Fourteenth Amendment to the United States Constitution.

118. Defendant City of Geneva is liable for the deprivation of Ms. Sapp’s Fourteenth
Amendment rights See Monell v. New York City Dept. ofSocz'al Servs., 436 U.S. 658, 694 (1978)
(“[W]hen execution of a government's policy or custom, whether made by its lawmakers or by
those whose edicts or acts may fairly be said to represent official policy, inflicts the injuiy... the
government as an entity is responsible under § 1983”).

119. Based upon the foregoing, Ms. Sapp is entitled to an award of compensatory
damages and punitive damages as well as an award for her reasonable attorneys’ fees and costs.
Ms. Sapp further seeks declaratory and injunctive relief barring Defendants from ongoing
violations of the Fourteenth Amendment

SECOND CLAIM FGR RELIEF:
UNLAWFUL SEIZURE IN VIOLATION OF THE FOURTH AMENDMENT
TO THE U.S. CONSTITUTION

120. Ms. Sapp re-alleges and incorporates by reference Paragraphs 1 through 119 as if
fully set forth herein

121. Defendants acting in concert and under color of law, violated Ms. Sapp’s right to
freedom from unlawful seizure under the Fourth Amendment to the United States Constitution as
made actionable by the Civil Rights Act of 1871, 42 U.S.C. §1983, by their actions and
inactions

122. Ms. Sapp had an established property interest in the premises as a tenant and

occupant of the apartment at 110 Andes Avenue, Apartment #1.

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123. Defendants Brian Kelly and the City of Geneva, individually and in concert,
ordered Ms Sapp to leave her property via written Order to Vacate, and placarded the entrance to
the property. l

124. Such action substantially interfered with Ms Sapp and her daughter’s use and
possession of the premises l

125. Such action was without any basis in the laws or codes of the state of New York
or the City of Geneva.

126. Ms. Sapp was damaged in the amount of the value of her loss of housing

127. Ms. Sapp was also damaged by the illegal eviction in the amount of all
consequential and reasonable monetary damages sustained as a result of having to find interim
alternative housing during a period in which she was entitled to occupy the premises

128. Defendants’ Order to Vacate the premises issued to Ms. Sapp and her young
daughter constitutes an unlawful seizure and deprivation of real property rights in violation of the
Fourth Amendment to the United States Constitution. See Soldal v, C00k Counly, 506 U.S. 5¢6,

61 (1992)(“A ‘seizure’ of property... occurs when ‘there is some meaningful interference with an
individual's possessory interests in that property”’).

129, Defendant Citylof Geneva is liable for the deprivation of Ms. Sapp’s Fourth
Amendment rights See Monell_ v. New York City Dept. of Social Servs., 436 U.S. 65 8, 694
(1978)(“[W]hen execution of a governments policy or custom, whether made by its lawmakers
or by those whose edicts or acts may fairly be said to represent official policy, inflicts the injury...

the government as an entity is responsible under § 1983”).

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130. Based upon the foregoing, Ms. Sapp is entitled to an award of compensatory
damages as well as an award for her reasonable attorneys’ fees and costs Ms. Sapp further seeks
declaratory and injunctive relief barring Defendants from ongoing violations of the Fourth
Amendment

THIRD CLAIM FOR RELIEF:
UNLAWFUL EVICTION

131. Ms. Sapp re-alleges and incorporates by reference Paragraphs 1 through 130 as if
fully set forth herein

132. Defendants Brian Kelly and the City of Geneva individually and in concert
permanently ejected Ms. Sapp and her daughter from the leased premises without instituting any
legal proceeding to extinguish her right to continued possession of the premises

133. Such action was without any basis in the laws or codes of the state of New York
or the City of Geneva. f

134. Where a party by unlawful means ejects another from real property, the injured
party is entitled to collect treble damages against the wrongdoer under New York State Real
Property Actions and Proceedings Law §853.

135. Ms. Sapp was damaged in the amount of the value of her loss of housing

136. Ms. Sapp was also damaged by the illegal eviction in the amount of all
consequential and reasonable monetary damages sustained as a result of having to find interim
alternative housing during a period in which she was entitled to occupy the premises

137. Based upon the foregoing, Ms Sapp is entitled to an award of treble
compensatory damages Ms. Sapp further seeks declaratory relief regarding Defendants’

violations of RPAPL §853.

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WHEREFORE, Plaintiff respectfully requests that the Court enter a judgment against the

Defendants as follows:

1.
2.

Assuming jurisdiction over this case;

Declaring the actions of Defendants as set forth above, to be an unlawful denial
of Plaintiff Shayla Sapp's right to due process of law, as protected by the 14th
Amendment to the U.S. Constitution and made actionable by the Civil Rights Act
of 1871, 42 USC § 1983;

Declaring the actions of Defendants as set forth above, to be an unlawful seizure
of Plaintiff Shayla Sapp's property, as protected by the 4th Amendment to the U.S.
Constitution and made actionable by the Civil Rights Act of 1871, 42 USC §
1983;

Declaring the actions of Defendants as set forth above, to be a violation of

Geneva City Code Chapter 230;

. Declaring the actions of Defendants as set forth above, to be a violation of

RPAPL § 853; _

Enjoining Defendants City of Geneva and Brian Kelly from taking action to
placard dwellings without proper inquiry, notice of specific defect, compliance
with all state and local statutes and regulations and notice of pre- or post-
deprivation relief available, or otherwise continuing to act upon their unlawful
customs policies and procedures in violation of the Geneva City Code Chapter
23 0, New York State laws and Regulations including RPAPL § 853, and the 4th
and 14th Amendments to the U.S. Constitution;

Awarding Plaintiff compensatory damages against Defendant City of Geneva and
Defendant Brian Kelly in an amount this Court shall consider to be just,
reasonable, and fair;

Awarding Plaintiff punitive damages against Defendant Brian Kelly in his

individual capacity;

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9. Awarding Plaintiff treble damages for unlawful eviction under Real Property
Actions and Proceedings Law § 853 against Defendants City of Geneva and Brian
Kelly; _

10. Awarding such other damages as are necessary to fully compensate Plaintiff;

11. Awarding costs disbursements and attorney's fees to Plaintiff under 42 U.S.C.
§1988; and

12. Awarding such additional and further relief as the interests of justice require.

JURY DEMAND

Plaintiff demands a trial by jury on all issues so triable.

DATED:

April 29, 2019
Geneva, New York

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\\wl§y: Kari A Talbott

Legal Assistance of Western New York, lnc'.
Attorneys for Plaintiff Shayla Sapp

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Geneva, NY 14456

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EXHIBIT A

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ClTY OF GENEVA, NEW YORK
Office of the Fire Marshall
Division of Developmerit Services
47 Castle Street, City Hall
Geneva, NY 14456

 

ORDER TO VACATE
110-112 ANDES AVENUE

January 30, 2018

A6 Properties, LLC
154 Cobblestone Court Drive
Victor, NY 14564

RE.' 110-112 Andes Aven.ne (sbl# 1048-3-27)
Dear Mr. D ’Anna:

We are writing to you today to inform you that we are VACATING your property IMMEDIATELY for
failure to obtain the required Operating Perrnit per NYS Uniform Codes This property has not had an operating permit
since February 25, 2017 and after numerous letters set and cancelled appointments and no shows an inspection has
NOT been done as of today. Due to the fact that you have not obtained the required Operating Permit, our office has no
other choice than to VACATE the propertyl

Further, be advised that the NYS Uniform Codes 19 CCR-NY 1203.3 (H) states as follows:

(h.) Fire safety_an.d property maintenance inspections Provisions shall be made for:

(l) fire safety and property maintenance inspections of buildings which contain an area of
public assembly at intervals not to exceed one year_,'

(2) fire safety and property maintenance inspections of all multiple dwellings and all
nonresidential occupancies at intervals consistent'uiith local conditions but in no event
shall such intervals exceed one year for dormitory buildings and three years for all
other buildings

Again, at this time, our office is hereby ordering this property VACATED until such a time that you can obtain
the required Operating Permit, You will need to call this office to arrange for an inspection, and meet all applicable NYS
Uniform Code requirements before we can allow you to re-occupy the building Also, be advised that your failure to
vacate the property will give our office no choice than to seek City Court for their assistance in this matter.

While it is not our intention to inconvenience you or your tenants it is our responsibility to assure that each
property that requires an Operating Permit is inspected and complies per NYS Uniform Codes

[315] 789-5311 www.geneva.ny.us fax [315] 789-4294

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Please call our office to schedule a re- inspection so we can verify that the cited code violations are corrected
and that your property meets all the requirements for obtaining an Operating Permit.

Thank you in advance for your co-operation.

Sincerely,

    

Brian Kelly
City of Geneva

Cc.' file, DSS, Geneva Housing, Fire Chief, tenants

[315] 789-5311 www.geneva.ny.us fax [315] 789-4294

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ExHrBrr B w

 

 

